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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                     CIVIL ACTION NO. 25-10783-RGS

                             KIMBERLY CROSSON

                                       v.

      NORTHERN LIGHT SEBASTICOOK VALLEY HOSPITAL, et al.


                                   ORDER

                                 May 7, 2025
STEARNS, D.J.

      On March 31, 2025, Kimberly Crosson, a resident of Maine with a

mailing address in New Hampshire, filed a civil complaint accompanied by

an application to proceed in district court without prepaying fees or costs.

The named defendants in her self-prepared complaint are the Northern Light

Sebasticook Valley Hospital, the hospital’s president, a health insurer and

unnamed staff and administrators whom she identifies as John and Jane

Does. It appears that in 2023 she was in a car accident and entered the

emergency room of the defendant hospital for treatment.

      Because venue is not proper in the District of Massachusetts, the court

will order that this action be transferred to the United States District Court

for the District of Maine.

      In the present context, the term “venue” refers to “the geographic

specification of the proper court or courts for the litigation of a civil action
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that is within the subject-matter jurisdiction of the district courts.” 28 U.S.C.

§ 1390(a). Federal trial courts are divided geographically into districts, and

the venue statutes designate appropriate districts for each case.

      Under the general venue statute, venue is proper in a judicial district

in which the defendants reside or in which “a substantial part of the events

or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b). Because

the defendants in this action reside in Maine and the events giving rise to

Crosson’s claims occurred in Maine, venue does not exist in the District of

Massachusetts. Rather, venue is proper in the District of Maine.

      Accordingly, pursuant to 28 U.S.C. § 1404, the court hereby orders that

the Clerk transfer this action to the United States District Court for the

District of Maine. Whether Crosson should be permitted to proceed without

prepayment of fees is a determination to be made by the transferee court.

                                     SO ORDERED.

                                     /s/ Richard G. Stearns
                                     UNITED STATES DISTRICT JUDGE




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